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UN|TED STATES OF AMER|CA, ) L%Ug T!i ;`i_U\_ §§ `~"
) WUO .i \;H \‘
Plaintiff, ) CR. NO. 05-20308-D
)
vs. )
)
PATRlCK D. MAXWELL, )
K|MBERLY MAXWELL, )
)
Defendants. )
ORDER

 

The United States having requested that the Court unseai the indictment and
the Court being satisfied that sealing is no longer necessary, it is hereby
ORDERED that a|| of the above document is UNSEALED.

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Memphis, Tennessee UN|TED STATES MAG|STRATE JUDGE

APPROVED: /|%/'
T omas A. Co|thurst

Assistant U.S. Attorney

This document entered on the docket she tin co

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with Huie L,: and/or 32(b) FFiCrP on " '050

 

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This notice confirms a copy of the document docketed as number 6 in
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Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
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Honorable Bernice Donald
US DISTRICT COURT

